
59 So.3d 338 (2011)
Bruce L. SALITURI and Susan Salituri, Appellants,
v.
DEUTSCHE BANK NATIONAL TRUST COMPANY, as Trustee for HALO 2007-2 and HSBC Mortgage Company (USA), Appellees.
No. 4D10-1911.
District Court of Appeal of Florida, Fourth District.
April 27, 2011.
Garry W. Johnson and Bruce K. Herman of 511 Law, P.A., Fort Lauderdale, for appellants.
Wm. David Newman, Jr., of Law Offices of Marshall C. Watson, P.A., Fort Lauderdale, for appellee Deutsche Bank National Trust Company, as Trustee for HALO 2007-2.
PER CURIAM.
Pursuant to the Appellee's concession of error, the order denying the motion to vacate final judgment and cancel certificate *339 of title is reversed and this cause is remanded for further proceedings.
Reversed and Remanded.
WARNER, LEVINE and CONNER, JJ., concur.
